Case 2:04-CV-02664-SHI\/|-tmp Document 40 Filed 04/19/05 Page 1 of 2 Page|D 49

IN THE UNITED sTATES DISTRICT coURT
FOR THE WESTERN DISTRICT oF TENNESSEE 05 md
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WESTERN DIVISION

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PATRICIA A. BREWER, 'ML'\/»PHIS

Plaintiff,
vs. NO. 04-2664-Ma/P

SYNOVUS FINANCIAL CORPORATION,
d/b/a TRUST ONE BANK,

Defendant.

 

ORDER GRANTING LEAVE TO FILE REPLY

 

Before the court is defendant's motion, filed April 18,
2005, requesting leave to file a reply in connection with the
motion to dismiss. For good cause shown, defendant's motion is

granted.

IT IS SO ORDERED this 'qpt`day of April, 2005.

cwa/we

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

